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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:18-cv-08048-SVW-JC                                          Date   November 26, 2019
 Title             Vernon Unsworth v. Elon Musk




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                             Maria Bustillos
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                   R. Christopher Chatham                                    Alexander Spiro
                      G. Taylor Wilson                                       Michael T. Lifrak
                    Jonathan D. Grunberg                                    Robert M. Schwartz
                          Lin Wood                                            William Price
                       Nicole J. Wade
                       Matthew Wood
 Proceedings:                 PRETRIAL CONFERENCE
                              [95] MOTION IN LIMINE to Exclude Evidence filed by Plaintiff
                              [96] MOTION IN LIMINE (#1) to Exclude Unrelated tweets and SEC
                              settlement filed by Defendant
                              [97] MOTION IN LIMINE (#2) to Exclude Evidence of Cell Phone
                              Replacement filed by Defendant
                              [98] MOTION IN LIMINE (#3) to Exclude Evidence of Press Leaks filed by
                              Defendant
                              [101] MOTION IN LIMINE (#5) to Exclude the Expert Opinion of Dr.
                              Bernard J. Jansen filed by Defendant
                              [118] MOTION to Enforce Trial Subpoena To Vernon Unsworth filed by
                              Defendant
                              [126] MOTION to Quash Trial Subpoena for Elon Musk filed by Defendant

        Case called. Attorneys state their appearances. Further argument was heard. Order to issue. A
final pretrial conference is ordered for December 2, 2019 at 2:30 p.m..




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                                                               Initials of Preparer          PMC
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